O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the
                                                        Western District of North Carolina

                     United States of America                              )
                                v.                                         )
                                                                           )   Case No: 5:98CR125-3
                    Terrence Jarmine Davenport
                                                                           )   USM No: 13572-058
Date of Previous Judgment: 4/27/99                                         )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                          )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 235         months is reduced to 188 months                .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    38                Amended Offense Level:                                            36
Criminal History Category: I                 Criminal History Category:                                        I
Previous Guideline Range:  235 to 293 months Amended Guideline Range:                                          188       to 235   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
It is further ordered that as a condition of supervised release the defendant shall submit to the local Residential Reentry
Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation Officer.



Except as provided above, all provisions of the judgment dated                     4/27/99            shall remain in effect.
IT IS SO ORDERED.

Order Date:          September 3, 2008


Effective Date: September 3, 2008
                       (if different from order date)


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